USDC IN/ND case 1:21-cv-00238-DRL-SLC document 54 filed 02/16/22 page 1 of 5

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  Case: 21-2326     Document: 00713957209                 Filed: 02/16/2022         Pages: 3




                                          In the

                  United States Court of Appeals
                            For the Seventh Circuit
                                ____________________

           No. 21-2326
           RYAN KLAASSEN, et al.,
                                                           Plaintiffs-Appellants,

                                            v.

           TRUSTEES OF INDIANA UNIVERSITY,
                                                            Defendant-Appellee.
                                ____________________

                    Appeal from the United States District Court for the
                    Northern District of Indiana, Fort Wayne Division.
                    No. 1:21-CV-238 DRL — Damon R. Leichty, Judge.
                                ____________________

              ARGUED JANUARY 11, 2022 — DECIDED JANUARY 25, 2022
                                ____________________

              Before EASTERBROOK, SCUDDER, and KIRSCH, Circuit Judges.
               PER CURIAM. Indiana University requires students and fac-
           ulty to be vaccinated against SARS-CoV-2, which causes
           COVID-19. After the district court denied plaintiﬀs’ request
           for a preliminary injunction, we denied a motion for an in-
           junction pending appeal. 7 F.4th 592 (7th Cir. 2021). Our opin-
           ion observed that, because seven of the eight plaintiﬀs qualify
           for the University’s exemption for students who represent
           that vaccination conﬂicts with their religious beliefs, standing
USDC IN/ND case 1:21-cv-00238-DRL-SLC document 54 filed 02/16/22 page 3 of 5

  Case: 21-2326    Document: 00713957209               Filed: 02/16/2022        Pages: 3




           2                                                    No. 21-2326

           depends on the eighth plaintiﬀ, who does not assert that vac-
           cination is religiously unacceptable. Id. at 593.
               Before the parties ﬁled their appellate briefs on the merits,
           the University asked us to dismiss the litigation as moot. The
           University told us that Natalie Sperazza, the sole plaintiﬀ in-
           eligible for a religious exemption, has withdrawn from the
           University. Plaintiﬀs replied that Sperazza has deferred her
           enrollment, not withdrawn, and that she plans to aaend if she
           can do so without being vaccinated. We accepted that repre-
           sentation and denied the University’s motion.
              The parties then ﬁled their briefs, which do not shake our
           conﬁdence in the correctness of our earlier decision. But be-
           fore reaching the merits we must revisit mootness. Because
           plans can change, and because the briefs do not discuss the
           plaintiﬀs’ current status, we asked at oral argument whether
           Sperazza still intends to aaend Indiana University if she can
           do so without vaccination. She promptly gave a negative an-
           swer. Her declaration says: “I have no plans to return as a stu-
           dent at Indiana University.”
               At the pre-brieﬁng stage, plaintiﬀs told us that the suit is
           justiciable for two reasons: Sperazza’s status (now altered)
           and the fact that all plaintiﬀs contest the requirement that un-
           vaccinated students wear masks and be tested regularly for
           COVID-19. Their appellate brief ignores the mask-and-test re-
           quirement, however, so that aspect of the suit has been aban-
           doned. Plaintiﬀs’ aaempt to revive this subject in a post-argu-
           ment memorandum comes too late.
              Plaintiﬀs nonetheless ask us to treat this litigation as justi-
           ciable because the subject is capable of repetition but evading
           review. That contention is mistaken, for two reasons.
USDC IN/ND case 1:21-cv-00238-DRL-SLC document 54 filed 02/16/22 page 4 of 5

  Case: 21-2326     Document: 00713957209               Filed: 02/16/2022        Pages: 3




           No. 21-2326                                                      3

               First, the capable-of-repetition doctrine applies only if the
           dispute can recur between the same parties. See, e.g., Los An-
           geles v. Lyons, 461 U.S. 95 (1983); Weinstein v. Bradford, 423 U.S.
           147 (1975). Given the religious exemption enjoyed by seven
           plaintiﬀs, and the withdrawal of the eighth, these plaintiﬀs
           will not be aggrieved by the University’s vaccination require-
           ment in the future.
               Second, only short-lived disputes evade review. See, e.g.,
           Lewis v. Continental Bank Corp., 494 U.S. 472, 481–82 (1990);
           Sosna v. Iowa, 419 U.S. 393, 399–400 (1975). This vaccination
           policy is not in that category. Indiana University requires
           many vaccinations, and none of the litigants suggests that
           SARS-CoV-2 is just a temporary addition to the list. College
           enrollment usually lasts four years, and some students go on
           to graduate education (one of the plaintiﬀs was a law student
           when the suit began). Challenges to other vaccination require-
           ments have been resolved by the Supreme Court, see Biden v.
           Missouri, No. 21A240 (Jan. 13, 2022); National Federation of In-
           dependent Business v. Department of Labor, No. 21A244 (Jan. 13,
           2022), even though those requirements were adopted after In-
           diana University’s. The problem in obtaining judicial review
           does not stem from an evanescent policy, whose application
           will be complete before a court can act. The obstacle to reso-
           lution of this suit is that the only plaintiﬀ with standing with-
           drew from the University.
               The judgment of the district court is vacated, and the case
           is remanded with instructions to dismiss as moot.
USDC IN/ND case 1:21-cv-00238-DRL-SLC document 54 filed 02/16/22 page 5 of 5

    Case: 21-2326                 Document: 00713957208                Filed: 02/16/2022        Pages: 1



    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                   Office of the Clerk
        United States Courthouse
                                                                                  Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                                  www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
January 25, 2022

                                                   Before
                                     FRANK H. EASTERBROOK, Circuit Judge
                                     MICHAEL Y. SCUDDER, Circuit Judge
                                     THOMAS L. KIRSCH II, Circuit Judge

                                     RYAN KLAASSEN, et al.,
                                             Plaintiffs - Appellants

No. 21-2326                          v.

                                     TRUSTEES OF INDIANA UNIVERSITY,
                                              Defendant - Appellee
Originating Case Information:
District Court No: 1:21-cv-00238-DRL-SLC
Northern District of Indiana, Fort Wayne Division
District Judge Damon R. Leichty


The judgment of the district court is VACATED, and the case is REMANDED with instructions
to dismiss as moot.

The above is in accordance with the decision of this court entered on this date. The University
recovers costs.




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